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8                               IN THE UNITED STATES DISTRICT COURT

9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                 Plaintiff,                            Cr. No. S-02-0468 MCE

12          vs.

13   N. ALLEN SAWYER,

14                 Defendant.                            ORDER

15                                              /

16                 On July 17, 2007, the court heard argument on N. Allen Sawyer’s motion to quash

17   a subpoena served on him by former co-defendant Monte McFall. Quin Denvir appeared for Mr.

18   Sawyer; Victor Haltom and John Duree appeared for Mr. McFall.

19   A. Background

20                 On September 9, 2004, a fourth superseding indictment was returned against

21   Monte McFall, N. Allen Sawyer, Baxter Dunn and others, charging them with two counts of

22   conspiracy to commit extortion, 18 U.S.C. § 1951, two counts of false statement before the grand

23   jury, 18 U.S.C. § 1623, four counts of honest services mail fraud, 18 U.S.C. §§ 1341 & 1346, and

24   two counts of honest services wire fraud, 18 U.S.C. §§ 1343 & 1346. See Docket No. 264. On

25   January 11, 2005, Sawyer pleaded guilty to one count of honest services mail fraud, with the

26   understanding, among others, that the remaining counts would be dismissed and that:

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1                   The defendant understands that the law gives him a right to appeal
                    his conviction and sentence. He agrees as part of his plea,
2                   however, to give up the right to appeal the conviction and the right
                    to appeal any aspect of the sentence as long as he is sentenced at an
3                   offense level no higher than 15.

4                   The defendant also gives up any right he may have to bring a post-
                    conviction attack on his conviction or his sentence. He specifically
5                   agrees not to file a motion under 28 U.S.C. § 2255 or § 2241
                    attacking his conviction or sentence.
6
                    If the defendant’s conviction on any of the counts to which he is
7                   pleading guilty is ever vacated at the defendant’s request, or his
                    sentence is ever reduced at his request, the government shall have
8                   the right to prosecute the defendant on counts to which he pleaded
                    guilty.
9

10   Sawyer Plea Agreement (Docket No. 375) ¶ VI C. Sawyer was sentenced on June 7, 2005 based

11   on an offense level of 15; the written judgment was filed June 17, 2005. Docket Nos. 502, 506.

12                  All the other defendants, except McFall, pleaded guilty. McFall was convicted

13   after a lengthy jury trial. Docket No. 451 (minutes).

14                  On July 15, 2005, McFall filed a motion for new trial, alleging, among other

15   things, that trial counsel should have sought a continuance of the trial in order to secure Sawyer’s

16   testimony, which would have been exculpatory, as reflected in the notes of his debriefing

17   sessions with representatives of the government. See Docket Nos. 512, 517. On April 24, 2006,

18   the Honorable Morrison C. England set an evidentiary hearing on the motion, to begin on July

19   19, 2006.

20                  On June 21, 2006, Sawyer filed a motion to vacate, correct or set aside his

21   sentence under 28 U.S.C. § 2255; he argues that his conviction violates the Fifth, Sixth and

22   Eighth Amendments because he is factually innocent. Motion To Vacate (Docket No. 553) at 4.

23   The motion was referred to the Honorable Craig M. Kellison, Magistrate Judge, who has issued

24   an order directing the government to respond, noting that “[i]t does not plainly appear from the

25   motion, any attached exhibits, or the record of prior proceedings, that movant is not entitled to

26   relief. . . . Respondent, therefore, will be directed to file a response to movant’s motion.” See id.

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1    (Docket No. 569).

2                   On July 12, 2006, Sawyer filed a motion to quash the subpoena served on him by

3    McFall’s counsel on July 11, 2006, ordering him to appear for the July 19th hearing on the

4    motion for a new trial. In this motion, Sawyer argues he has a Fifth Amendment right not to

5    incriminate himself by his testimony about his dealings with McFall because if his § 2255 motion

6    “is successful, it is expected the government will attempt to invoke that portion of the plea

7    agreement to re-prosecute him.” Sawyer Motion To Quash (Sawyer MTQ) at 2.

8                   At hearing on the motion to quash, the court provided McFall’s counsel the

9    opportunity to submit a list of questions he anticipates posing to Mr. Sawyer by the end of the

10   day on Monday, July 17th. The docket does not reflect the filing of any such questions. At

11   hearing on the motion to quash, based on McFall’s counsel’s description of the nature of the

12   questions he anticipates asking, Sawyer’s counsel indicated that Sawyer would invoke his Fifth

13   Amendment right in response to any and all such questions.

14   B. Application Of the Sixth Amendment To The Proceedings

15                  McFall argues he has a Sixth Amendment and Fourteenth Amendment right to

16   present witnesses in his favor at the hearing on the motion for a new trial. He relies on

17   Washington v. Texas, 388 U.S. 14 (1967) and Chambers v. Mississippi, 410 U.S. 284 (1973),

18   which discuss the application of the compulsory process clause to criminal trials. At the hearing

19   on the motion, counsel could not direct the court to any cases extending this right to a hearing on

20   a motion for a new trial. There is some suggestion in the law that the right does not extend to

21   proceedings other than trial. See Pennsylvania v. Ritchie, 480 U.S. 39, 52 (1987) (right to

22   confront and cross-examine is a trial right, designed to prevent restrictions on questions during

23   cross-examination; it does not create a right to pretrial discovery); but see Menefield v. Borg, 881

24   F.2d 696 (9th Cir. 1989) (under California law, motion for a new trial is a “critical state” of the

25   proceedings and Sixth Amendment thus requires the appointment of counsel). Although it is not

26   clear that McFall may rely on the Constitution in seeking to compel the attendance of Sawyer, the

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1    court’s ultimate resolution of the motion does not require it to resolve this question.

2    C. The Motion To Quash

3                   The general standard for a valid assertion of the Fifth Amendment privilege is

4    well established. A witness must show that his testimony would support a conviction under a

5    federal criminal statute or furnish a link in the chain of evidence needed to prosecute the claimant

6    for a federal crime. Hoffman v. United States, 341 U.S. 479, 486 (1951). The standard for

7    determining whether a claim of privilege is justified is whether the claimant is confronted by an

8    appreciable and real hazard of incrimination. United States v. Apfelbaum, 445 U.S. 115, 128

9    (1980); United States v. Antelope, 395 F.3d 1128, 1134 (9th Cir. 2005).

10                  Sawyer argues that in light of the provisions of his plea agreement, he faces an

11   appreciable and real danger of self-incrimination should he be called to testify. His exposure

12   stems from the possibility that his conviction will be vacated based on his § 2255 motion, and the

13   government will then seek to prosecute him once again.

14                  McFall argues that there is no real danger of self-incrimination because the § 2255

15   motion is barred by Sawyer’s waiver of appeal and collateral attack, is not timely under the

16   AEDPA, and is frivolous. This court, however, is not able to reach these contentions: the motion

17   has been assigned to another Magistrate Judge, who has determined not to dismiss the motion

18   after his examination of “the motion, any attached exhibits, and the record of prior proceedings”

19   and his decision “to direct the government to file a response.” Rule 4(b), Rules Governing

20   Section 2255 Proceedings. McFall has presented no statutory or case authority suggesting that

21   this court may make even a preliminary evaluation of the merits of a case assigned to a different

22   Magistrate Judge.

23                  McFall also cites United States v. Transfiguracion, 442 F.3d 1222, 1230 (9th Cir.

24   2006), for the proposition that “a claim that a conviction is invalid because the underlying acts do

25   not constitute a crime ‘did not attack the plea agreement in any way’, including by invalidating

26   the guilty plea entered pursuant to the plea agreement.” Opp’n at 6. In Transfiguracion,

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1    however, the defendants sought to dismiss the information against them in light of a change in

2    the law; they did not seek to withdraw their pleas. The government sought to revive the charges

3    dismissed as part of the plea bargain, but the Ninth Circuit rejected the attempt because the plea

4    agreement provided that the dismissed charges could be revived only if the “defendant’s guilty

5    plea is rejected, withdrawn, vacated or reversed at any time. . . .” Id. at 1226. The court

6    observed that the motion to dismiss the information was not an attack on the plea and not a

7    violation of the plea agreement.

8                   The agreement in this case is very different, for it gives the government the option

9    to prosecute Sawyer if his conviction or sentence is vacated at his request; he has made such a

10   request to vacate in his § 2255 motion.

11                  Although McFall has now declined to submit the questions he seeks to pose to

12   Sawyer under oath, he has directed the court to the appendix to his reply to the opposition to the

13   motion for new trial as containing an outline of what he would ask Sawyer at a hearing. The

14   potential questions concern McFall’s dealings with a company called Digital Angel, the subject

15   of count 14, and co-defendant Bedford’s decision to vote against Calpine, which may undercut

16   some of the evidentiary support for counts 2, 3 and 4. Counts 2 and 14 were dismissed as part of

17   Sawyer’s plea bargain. Based on this record, the court finds that Sawyer could reasonably invoke

18   his Fifth Amendment privilege against self-incrimination as ground for refusing to answer

19   essentially all relevant questions at the hearing on the motion for a new trial. See United States

20   v. Kordel, 397 U.S. 1, 9 & n.14 (1970); United States v. Gomez-Rojas, 507 F.2d 1213, 1219 (9th

21   Cir. 1975). His attendance, therefore, should not be compelled.

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1                   The motion to quash is granted.

2                   IT IS SO ORDERED.

3    DATED: July 18, 2006.

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                                                      UNITED STATES MAGISTRATE JUDGE
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